Case 1:07-cr-00213-PLM         ECF No. 396, PageID.3940            Filed 07/17/12     Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                     Case No. 1:07-cr-213-05
v.
                                                     HONORABLE PAUL L. MALONEY
SHAWN B. ECHOLS,

                  Defendant.
_______________________________/


                         MEMORANDUM OPINION AND ORDER

       Defendant Shawn B. Echols has filed a motion for modification or reduction of sentence

pursuant to 18 U.S.C. §3582(c)(2) based on the modification of the Drug Quantity Table with

respect to cocaine base (crack cocaine).

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant

who has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 750 of the United States

Sentencing Guidelines modified U.S.S.G. § 2D1.1, the Drug Quantity Table with regard to

cocaine base (crack cocaine), and U.S.S.G. § 2D2.1(b). These modifications were made

retroactive effective November 1, 2011. U.S.S.G. § 1B1.10(c).

       At the time of sentencing, the Court approved a stipulation between the defendant and the

government that established a base offense level of 30. After application of a two-level

enhancement for firearms and a three-level reduction for acceptance of responsibility, the total

offense level was calculated at 29. Defendant’s criminal history category is V, so the applicable
Case 1:07-cr-00213-PLM          ECF No. 396, PageID.3941            Filed 07/17/12     Page 2 of 2




guideline range was determined to be 140 to 175 months. The defendant was ultimately

sentenced to 114 months custody as the Court sentenced below the advisory guideline range due

to § 3553 factors. The new calculation, however, does not result in a lower guideline range. In

calculating the new guideline range, the United States Probation Office used the agreed upon

base offense level to which the parties stipulated, applied the firearm enhancement and reduction

for acceptance of responsibility, resulting in a total offense level of 29. The newly calculated

guideline range is the same as before, 140 to 175 months. Accordingly, the amendments are of

no assistance to the defendant. Further, the Court declines to revisit the drug quantity stipulation

between the parties. Therefore,

       IT IS HEREBY ORDERED that the defendant’s motion for modification of sentence

pursuant to 18 U.S.C. § 3582(c)(2) (ECF No. 373) is DENIED.



Date: July 17, 2012                           /s/ Paul L. Maloney
                                              Paul L. Maloney
                                              Chief United States District Judge
